169 F.3d 784
    79 Fair Empl.Prac.Cas. (BNA) 704
    Barbara M. MOSS, Plaintiff,Peter D. Moss, Plaintiff-Appellant,v.STINNES CORPORATION;  Michael Mobeius, President;  Dr.Hans-Juergen Knauer, Chairman, Defendants-Appellees.
    Docket No. 97-9450.
    United States Court of Appeals,Second Circuit.
    Argued Jan. 29, 1999.Decided March 08, 1999.
    
      Peter D. Moss, Pro Se, Forest Hills, N.Y., for Plaintiff-Appellant.
      Stanley L. Goodman, Grotta, Glassman &amp; Hoffman, P.A., Roseland, N.J., for Defendants-Appellees.
      Before:  NEWMAN, WALKER, and CALABRESI, Circuit Judges.
      PER CURIAM.
    
    
      1
      Plaintiff-appellant Peter D. Moss, appearing pro se, appeals from an order of the United States District Court for the Southern District of New York (Keenan, J.), denying plaintiff-appellant's motion to intervene in his wife Barbara M. Moss's action under the Age Discrimination in Employment Act ("ADEA"), 29 U.S.C. § 621 et seq., and the New York State Human Rights Law ("HRL"), N.Y. Exec.  Law § 290 et seq.
    
    
      2
      We hold, as have all other courts that have considered the question, that neither the ADEA nor the HRL affords a direct cause of action to a non-employee due to discrimination against his spouse.  Moreover, neither statute provides for a claim for loss of consortium.  Accordingly, we affirm the order denying intervention for substantially the reasons stated by the district court.  See Moss v. Stinnes Corp., No. 92 Civ. 3788, 1997 WL 530113 (S.D.N.Y. Aug. 25, 1997);  see also Moss v. Stinnes Corp., No. 92 Civ. 3788, 1993 WL 33591 (S.D.N.Y. Jan. 29, 1993).
    
    